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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   CRYSTALLEX INTERNATIONAL                        §
   CORPORATION,                                    §
                                                   §
          Plaintiff,                               §
                                                   §
          v.                                       §     C.A. No. 1:17-mc-00151-LPS
                                                   §
   BOLIVARIAN REPUBLIC OF                          §
   VENEZUELA,                                      §     PUBLIC REDACTED VERSION
                                                   §     DATED: AUGUST 15, 2023
          Defendant.                               §

                   MEMORANDUM OF LAW IN SUPPORT OF SEALING
                  PART’S OF BANCO SAN JUAN INTERNACIONAL INC.’S
                         ATTACHED JUDGMENT STATEMENT

         Pursuant to this Court’s Order of August 8, 2023, D.I. 654, Banco San Juan Internacional Inc.

  (“BSJI”) files this Memorandum of Law supporting the continued sealing of parts of BSJI’s “Attached

  Judgment Statement” (“Statement”). BSJI will file a redacted, publicly available version of its

  Statement no later than August 16, 2023.

         BSJI’s proposed redactions are minimal and narrow, as they seek to redact only three sentences

  from its Statement. The redacted information implicates highly sensitive and confidential information

  concerning BSJI’s efforts to collect on judgments against Petróleos de Venezuela S.A. (“PDVSA”)

  and PDVSA Petróleo, S.A. (“PPSA”) rendered by The High Court of Justice, Business and

  Property Courts of England and Wales, Commercial Court (QBD). BSJI included this information

  in its Statement because, pursuant to the Special Master’s request, this Court ordered that judgment

  statements include “a description of any collection efforts.” See D.I. 652, D.I. 654.

         Courts have considerable discretion to seal documents upon a showing of good cause,

  allowing this Court to approve the continued sealing of a few sentences in BSJI’s Statement. See

  In re Avandia Mktg., Sales Practices, and Products Liability Litigation, 924 F.3d 662, 670-71 (3d
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  Cir. 2019); FED R. CIV. P. 26(c)(1)(G) (“The court may, for good cause, issue an order to protect

  a party or person from annoyance, embarrassment, oppression, or undue burden or expense,

  including…requiring that a trade secret or other confidential research, development, or commercial

  information not be revealed or be revealed only in a specified way.”). Courts exercise their

  discretion in light of the relevant facts and circumstances. See Nixon v. Warner Commc’ns, Inc.,

  435 U.S. 589, 599 (1978). When deciding whether to limit public access to judicial documents, a

  court must weigh the presumption of access with competing interests, including the privacy

  interests of those who wish to shield certain information from the public. Id. at 671-72. Thus, “the

  common law right of access is ‘not absolute.’” Id. at 672 (quoting Bank of America Nat. Trust and

  Sav. Ass’n v. Hotel Rittenhouse Assocs., 800 F.2d 339, 344 (3d Cir. 1986)).

         Here, the circumstances require BSJI to provide information about its collection efforts

  given the Special Master’s request and the Court’s subsequent Order. D.I. 652, D.I. 654. This

  information implicates BSJI’s legal and business strategies and decisions, which BSJI should be

  allowed to shield from the public which has no interest in the specific details of BSJI’s collection

  efforts. See e.g., Greentech, Inc. v. Amgen, 2020 WL 9432700 at *4 (D. Del. Sept. 2, 2020) (“As

  the Supreme Court observed in Nixon v. Warner Communications, courts have refused to permit

  their files to serve as sources of business information that might harm a litigant’s competitive

  standing.”) (internal quotes omitted); Kaleo, Inc. v. Adamis Pharma. Corp., 2019 WL 11680196

  at *2 (D. Del. July 16, 2019).

         BSJI respectfully submits that good cause exists to keep under seal a few sentences in

  BSJI’s Statement. As ordered by the Court, BSJI will file a public version of the Statement within

  two (2) business days.




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   August 14, 2023

   PUBLIC REDACTED VERSION
   Dated: August 15, 2023




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